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                         United States District Court
                              District Of Maine

Travis McEwen, individually and on         )
behalf of all others similarly situated,   )
                                           )
                   Plaintiff,              )
                                           )
      v.                                   )
                                           )    Docket No.
National Rifle Association of America,     )
                                           )
and                                        )
                                           )
InfoCision, Inc. d/b/a InfoCision          )
Management Corporation,                    )
                                           )
                   Defendants.             )


                           Class Action Complaint
            Injunctive Relief Sought; And Demand For Jury Trial

      1.    Under the Telephone Consumer Protection Act (“TCPA”), 47

U.S.C. § 227, and applicable regulations, Plaintiff Travis McEwen brings

this Class Action Complaint against the National Rifle Association of

America and InfoCision, Inc. to: (1) stop their unlawful practice of making

unsolicited telemarketing calls with an automatic telephone dialing system

(“ATDS”) without consumers’ prior express consent, (2) stop their unlawful

practice of calling consumers who are on the National Do Not Call Registry,

and (3) obtain redress for all persons injured by Defendants’ unlawful

conduct, including for willfully and knowingly violating the TCPA and
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applicable regulations. Plaintiff alleges as follows upon personal knowledge

as to his own acts and experiences, and as to all other matters upon

information and belief, including investigation conducted by his attorneys.


                            I.   Nature of Action

      2.    Together, the National Rifle Association of America (“the NRA”)

and InfoCision, Inc. (“InfoCision”) have created and sustained an

aggressive—and unlawful—telemarketing campaign aimed at selling

memberships and soliciting contributions to the NRA. As part of this

nationwide campaign, Defendants use an ATDS to make autodialed or pre-

recorded calls to consumers across the country without those consumers’

consent, including to consumers whose numbers are listed on the National

Do Not Call Registry.

      3.    Plaintiff is one of numerous consumers whose rights have been

violated by this unlawful telemarketing campaign. Plaintiff placed his

telephone number on the National Do Not Call Registry in 2003 to avoid

unsolicited telemarketing calls, and he never consented to receiving

automatically dialed calls from the NRA. Nonetheless, he received a barrage

of calls from InfoCision on behalf of the NRA asking him to join the

organization. Even after he expressly asked them to stop calling him, he

received dozens of calls.



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      4.    By making these telephone calls, Defendants caused Plaintiff

and the members of the Classes actual harm and cognizable legal injury.

These harms and injuries include the aggravation, nuisance, and invasions

of privacy that result from the receipt of unwanted calls, in addition to the

amounts consumers paid to their wireless carriers for the receipt of

unwanted calls. And the calls interfered with the consumers’ use and

enjoyment of their cellphones, including the related data, software, and

hardware components. Defendants also caused substantial injury to the

phones of Plaintiff and the Class members by causing wear and tear on

their property, consuming battery life, and appropriating cellular minutes.

      5.    Plaintiff brings this class action for violations of the TCPA

against Defendants and their present, former, and future direct and indirect

parent companies, subsidiaries, affiliates, agents, and related entities.

      6.    Plaintiff seeks an injunction requiring Defendants to cease all

unsolicited telephone calling activities to consumers in violation of the

TCPA, in addition to all statutory damages under the TCPA, costs and

reasonable attorneys’ fees.


                        II.   Jurisdiction And Venue

      7.    This Court has subject matter jurisdiction over Plaintiff’s claims

under 28 U.S.C. §§ 1331 and 1343 because Plaintiff’s claims under 47 U.S.C.



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§ 227 arise under the laws of the United States and under an Act of

Congress providing a private right of action for the deprivation of specified

rights and for the protection of civil rights.

      8.    This Court has personal jurisdiction over Defendants because

they do business in Maine and Defendants committed many of the wrongful

acts alleged in this Complaint in Maine.

      9.    Venue is proper in this District under 28 U.S.C. § 1391(b)(2)

because Plaintiff received the telephone calls at issue within this District,

and a substantial part of the events or omissions giving rise to the claim

occurred in this District. Under Rule 3(b) of the Rules of this Court, this

action is properly filed in Portland.

      10.    Under Fed. R. Civ. P. 38(b) and Local Rule 38, Plaintiff

demands a trial by jury on all claims and defenses triable to a jury.


                                  III.   Parties

      11.   Plaintiff Travis McEwen is a citizen of the United States and is

a resident of the town of Casco in Cumberland County, Maine.

      12.   Defendant the NRA is a corporation incorporated and existing

under the laws of the State of New York with its headquarters in Fairfax,

Virginia. The NRA, both directly and through various affiliates, conducts

business throughout the state of Maine and the United States.



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       13.   Defendant InfoCision is a corporation incorporated and existing

under the laws of the State of Delaware with its headquarters in Akron,

Ohio. InfoCision, both directly and through various affiliates, conducts

business throughout the state of Maine and the United States.


                           IV.   Factual Allegations

A.     Defendants use unsolicited telemarketing calls to solicit memberships
       for the NRA.

       14.   The NRA is a membership-based organization. It solicits and

collects membership fees to further its work in firearms advocacy, training,

and education.

       15.   The NRA, on its own and through agents like InfoCision, has an

all-too-familiar and plainly unlawful method of recruiting new members:

unsolicited telemarketing.

       16.   InfoCision is the nation’s second-largest privately held

teleservices company. It provides “a full spectrum of direct marketing

services” to its clients, including through the use of call centers and direct

mailing.

       17.   The NRA has a marketing contract with InfoCision that

instructs or allows InfoCision to make telemarketing calls on behalf of the

NRA.




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      18.   InfoCision and the NRA place thousands of telemarketing calls

each day on behalf of the NRA to consumers nationwide. InfoCision makes

these calls for the express purpose of soliciting call recipients to purchase

memberships or other products from or through the NRA. InfoCision places

many of these calls to numbers that consumers have placed on the National

Do Not Call Registry.

      19.   The NRA has a sister organization: the NRA Foundation,

which—unlike the NRA—is a 501(c)(3) charitable organization, organized

and existing under the laws of the District of Columbia. As the NRA notes

on its website, the NRA Foundation operates as a distinct entity with a

distinct purpose: “Establishing the NRA Foundation, a 501 (c) (3) tax-

exempt organization, provided a means to raise millions of dollars to fund

gun safety and educational projects of benefit to the general public.

Contributions to the Foundation are tax-deductible . . . .” 1

      20.   InfoCision placed the solicitation calls subject to this complaint

on behalf of the NRA—not the NRA Foundation. The NRA Foundation does

not solicit memberships in the NRA.

      21.   As the NRA specifically notes on the membership application

portion of its website, 2 membership fees go to the NRA, not the NRA

1 https://home.nra.org/about-the-nra/ (last visited April?, 2020).
2 https://membership.nra.org/Join/Annuals (last visited April ?, 2020).




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Foundation. Indeed, the NRA discloses that it uses a portion of the

“membership” as payment for goods that it provides its members:




          22.   The NRA’s memberships come with certain benefits—including

a free gift and subscription to the NRA’s publications 3:




3   Id.


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      23.   In making calls soliciting memberships for the NRA, Defendants

and their agents utilized an ATDS. The ATDS hardware and software used

by Defendants (or their agents) has the capacity to store, produce, and dial

random or sequential numbers, and/or receive and store lists of telephone

numbers, and to dial such numbers, en masse, in an automated fashion

without human intervention.

      24.   In making these calls, Defendants contact those with whom they

do not have a prior relationship—let alone consent to make the call.

      25.   InfoCision admits that it uses vendors to collect phone numbers

for individuals who have had no previous contact with it or the NRA. In

response to an individual who complained to the Better Business Bureau

that InfoCision called him on behalf of the NRA—even though he had never

been a member of the NRA—InfoCision explained: “Prior to a telemarketing


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campaign, if phone numbers are unavailable from a client, InfoCision

Management Corporation may use outside phone look up vendors to obtain

phone numbers of current, past, or prospective members of the organization

to contact them by phone.” 4 As to that particular individual, it said, “[t]he

phone number InfoCision Management Corporation called was not provided

by the National Rifle Association.” 5

          26.   Defendants knowingly made (and continue to make) unsolicited

autodialed and pre-recorded calls and knowingly continued to make those

calls after members of the Classes requested that they stop. As such,

Defendants not only invaded the personal privacy of Plaintiff and members

of the Classes, but also intentionally and repeatedly violated the TCPA.

          27.   Before November 2019, the NRA knew or should have known

that InfoCision made and is continuing to make unsolicited autodialed and

pre-recorded calls on the NRA’s behalf, but the NRA has failed to take

effective steps to prevent InfoCision from making those unlawful calls.




4https://www.bbb.org/us/oh/akron/profile/marketing-programs/infocision-
management-corporation-0272-7034/complaints (last visited March 19,
2020).
5   Id.


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 B.    Defendants repeatedly made unsolicited phone calls to Plaintiff in
       violation of the TCPA.

       28.   Plaintiff registered his cell phone number with the National Do

 Not Call Registry in 2003 for the express purpose of avoiding unsolicited

 telemarketing calls.

       29.   Plaintiff had a membership with the NRA, but his membership

 expired in about late 2018, and he did not renew it. At no time did he

 consent to receive phone calls from the NRA.

       30.   After his membership with the NRA expired, Plaintiff received

 multiple calls every week for several months from Defendants asking him to

 rejoin the NRA. He answered at least one of the calls and responded that he

 was not interested in an NRA membership and that he wanted the NRA to

 leave him alone and stop calling, but the calls continued.

       31.   Finally, in about November 2018, frustrated with the

 annoyingly persistent calls, Plaintiff again answered one of the calls and

 renewed his request that Defendants stop calling him. During this call, he

 first became aware of a “do not call list” for the NRA and he immediately

 requested that he be placed on that “do not call list.” For about a year, the

 calls stopped.




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       32.   Then, in about November 2019, the harassing calls began again.

 Plaintiff began receiving phone calls several times per week from

 Defendants aimed at getting Plaintiff to buy a membership in the NRA.

       33.   Beginning in about November 2019, Plaintiff received more

 than 16 unwanted calls from Defendants.

       34.   For the first few weeks he received them, Plaintiff ignored these

 calls. They would typically come in the middle of the day when Plaintiff was

 at work, and he did not answer.

       35.   On about March 6, 2020, after months of receiving this barrage

 of unsolicited calls, Plaintiff decided to pick up and answer a call. After he

 answered the phone, there was an abnormally long pause, with nothing but

 dead air on the line. Then, Plaintiff heard what he believes was a pre-

 recorded voice say something about InfoCision.

       36.    Plaintiff was then transferred to a live person, who told him she

 was calling on behalf of the NRA and tried to persuade him to buy an NRA

 membership. Specifically, she pushed Plaintiff to buy the $150 NRA

 membership package, which included a sweatshirt (about a $70 value) and a

 magazine subscription.

       37.   Plaintiff responded that he was not interested in purchasing

 anything.




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       38.   Then, Plaintiff asked the representative for the NRA’s contact

 information and the contact information for the entity that had placed the

 automated call. She identified InfoCision as the entity that had placed the

 call, and she provided contact information for the NRA and InfoCision.

       39.   After the representative gave Plaintiff the contact information,

 she stated that he could not sue them because the NRA “is a nonprofit.”

       40.   Plaintiff complained to the representative that he had

 previously asked them not to call him but he was still receiving unsolicited

 calls, and he asked again to be placed on Defendants’ “do not call list.”

       41.   Defendants’ conduct in placing these calls to Plaintiff violated

 the TCPA.

       42.   Defendants willfully and knowingly violated the TCPA and the

 applicable regulations.


                           V.   Class Action Allegations

       43.   Plaintiff brings this action individually and on behalf of all other

 persons similarly situated (“Class Members”).

       44.   Under Federal Rule of Civil Procedure 23(b)(2) and (b)(3),

 Plaintiff brings this action as a class action on behalf of the Classes of

 persons defined as:




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       National ATDS Class
       All persons within the United States who received a non-
       emergency telephone call from Defendants through the use of an
       automatic telephone dialing system and/or prerecorded voice, and
       who did not provide prior express consent for such calls, at any
       time from ______, 2016 to the date of trial.

       National Do-Not-Call Subclass
       All persons within the United States who were on the National
       Do-Not-Call Registry and received more than one solicitation
       telephone call from Defendants within any 12 month period from
       _____, 2016 to the date of trial.

       45.    Excluded from the Classes are Defendants and any entities in

 which they have a controlling interest, Defendants’ agents and employees,

 the Judge to whom this action is assigned, and any member of the Judge’s

 staff and immediate family.

       46.    Numerosity. The Classes are so numerous that joinder of all

 members is impracticable. Upon information and belief, the Classes have

 thousands of members. Moreover, the disposition of the claims of the

 Classes in a single action will provide substantial benefits to all parties and

 the Court.

       47.    Commonality. There are numerous questions of law and fact

 common to Plaintiff and the members of the Classes. These common

 questions of law and fact include, but are not limited to, the following:




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             a. Whether Defendants utilized an automatic telephone dialing

                 system to place non-emergency calls to members of the

                 Classes;

             b. Whether Defendants can meet their burden of showing they

                 obtained prior express consent to make such calls;

             c. Whether Defendants’ conduct in making these calls was

                 willful or knowing or both;

             d. Whether members of the Classes are entitled to statutory

                 damages; and

             e. Whether Defendants should be enjoined from making such

                 calls in the future.

       48.   Typicality. Plaintiff’s claims are typical of the claims of the

 Classes. Plaintiff’s claims, like the claims of the Classes, arise out of the

 same common course of conduct by Defendants. Specifically, as a person

 who received non-emergency telephone calls from Defendants using an

 automatic telephone dialing system, without his prior express consent

 within the meaning of the TCPA, Plaintiff asserts claims that are typical of

 each Class member who also received such phone calls.

       49.   Adequacy. Plaintiff will fairly and adequately protect the

 interests of the Classes. Plaintiff has retained competent and capable




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 attorneys who are experienced trial lawyers with significant experience in

 complex and class action litigation, including consumer class actions and

 robocall class actions. Plaintiff and his counsel are committed to prosecuting

 this action vigorously on behalf of the Classes and have the financial

 resources to do so. Neither Plaintiff nor his counsel has interests that are

 contrary to or that conflict with those of the proposed Classes.

       50.   Predominance. Defendants have engaged in a common course of

 conduct toward Plaintiff and the Classes. The common issues arising from

 this conduct that affect Plaintiff and the Classes predominate over any

 individual issues. Adjudication of these common issues in a single action has

 important and desirable advantages of judicial economy.

       51.   Superiority. A class action is the superior method for the fair

 and efficient adjudication of this controversy. Class-wide relief is essential

 to compel Defendants to comply with the TCPA. The interest of individual

 Class members in individually controlling the prosecution of separate claims

 against Defendants is small because the statutory damages in an individual

 action for violation of the TCPA are too small to make it practical to

 prosecute an individual action. Class treatment is superior to multiple

 individual suits or piecemeal litigation because it conserves judicial

 resources, promotes consistency and efficiency of adjudication, provides a




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 forum for small claimants, and deters illegal activities. There will be no

 significant difficulty in the management of this case as a class action.


                             VI.   Claims for Relief

                             A. First Claim for Relief
     Strict Liability Violations of the Telephone Consumer Protection Act
                                47 U.S.C. § 227(b)
                    On Behalf of the National ATDS Class

       52.   Plaintiff realleges all allegations set forth above.

       53.   Through their alleged conduct, Defendants have violated 47

 U.S.C. § 227(b)(1) by using an (1) ATDS or (2) an artificial or prerecorded

 voice or (3) both to make calls to telephone numbers assigned to a cellular

 telephone service in the United States.

       54.   Through their alleged conduct, Defendants have also violated 47

 U.S.C. § 227(b)(1) by initiating telephone calls to residential telephone lines

 using an artificial or prerecorded voice to deliver a message without the

 prior express consent of the called party.

       55.   As a result of Defendants’ violations of 47 U.S.C. § 227, Plaintiff

 and each of the National ATDS Class members are entitled to an award of

 $500 in statutory damages for each and every call in violation of the statute

 under 47 U.S.C. § 227(b)(3)(B).




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       56.   Plaintiff and National ATDS Class members are also entitled to

 and do seek injunctive relief prohibiting Defendants’ violation of the TCPA

 in the future.

       57.   Plaintiff and National ATDS Class members are also entitled to

 an award of attorneys’ fees and costs.


                           B. Second Claim for Relief
                  Willful and Knowing Violations of the TCPA
                               47 U.S.C. § 227(b)
                    On Behalf of the National ATDS Class

       58.   Plaintiff realleges all allegations set forth above.

       59.   Defendants willfully or knowingly (or both willfully and

 knowingly) violated § 227(b) of the TCPA or the applicable regulations

 prescribed under this subsection. The alleged acts and omissions of

 Defendants constitute numerous and multiple willful or knowing (or both)

 violations of § 227(b) of the TCPA.

       60.   As a result of Defendants’ willful or knowing (or both) violations

 of 47 U.S.C. § 227(b), Plaintiff and each of the National ATDS Class

 members are requesting an award of $1,500 in statutory damages under 47

 U.S.C. § 227(b)(3)(C) for every call in violation of 47 U.S.C. § 227(b) and the

 applicable regulations.




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       61.   Plaintiff and National ATDS Class members are also entitled to

 and do seek injunctive relief prohibiting Defendants’ violation of 47 U.S.C.

 § 227(b) in the future.

       62.   Plaintiff and National ATDS Class members are also entitled to

 an award of attorneys’ fees and costs.


                          C. Third Claim for Relief
     Violations of the TCPA, 47 U.S.C. § 227(c) & 47 C.F.R. 64.1200(c), (e)
                On Behalf of the National Do-Not-Call Subclass

       63.   Plaintiff realleges all allegations set forth above.

       64.   Defendants made telephone calls to Plaintiff and other

 consumers whose numbers were listed on the National Do-Not-Call

 Registry.

       65.   Plaintiff and members of the National Do-Not-Call Subclass

 received at least two calls from Defendants within a 12-month period.

       66.   As a result of Defendants’ violations of 47 U.S.C. § 227(c) and

 the regulations prescribed under this subsection, including but not limited

 to 47 C.F.R. 64.1200(c) and (e), Plaintiff and members of the National Do-

 Not-Call Subclass are each entitled to $500 for each and every telephone call

 in violation of § 227(c) of the TCPA and the regulations prescribed under

 this subsection, including but not limited to 47 C.F.R. 64.1200(c), (e).




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                        D. Fourth Claim for Relief
      Willful and Knowing Violations of the TCPA, 47 U.S.C. § 227(c) &
                        47 C.F.R. 64.1200(c), (e)
                  On Behalf of the National Do-Not-Call Subclass

       67.   Plaintiff realleges all allegations set forth above.

       68.   Defendants willfully or knowingly (or both willfully and

 knowingly) violated 47 U.S.C. § 227(c) and the regulations prescribed under

 this subsection, including but not limited to 47 C.F.R. 64.1200(c), (e). The

 alleged acts and omissions of Defendants constitute numerous and multiple

 willful or knowing (or both) violations of 47 U.S.C. § 227(c) and the

 regulations prescribed under this subsection, including but not limited to 47

 C.F.R. 64.1200(c), (e).

       69.   As a result of Defendants’ willful or knowing (or both) violations

 of 47 U.S.C. § 227(c), Plaintiff and each of the National ATDS Class

 members are requesting an award of $1,500 in statutory damages under 47

 U.S.C. § 227(c)(5)(C) for each and every call in violation of 47 U.S.C. § 227(c)

 and the regulations prescribed under that subsection, including but not

 limited to 47 C.F.R. 64.1200(c), (e).

       70.   Plaintiff and National ATDS Class members are also entitled to

 and do seek injunctive relief prohibiting Defendants’ violation of the TCPA

 in the future.




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       71.    Plaintiff and National ATDS Class members are also entitled to

 an award of attorneys’ fees and costs.


                                 Prayer for Relief

       Plaintiff, on his own behalf and on the behalf of the Classes, prays for

 judgment against Defendants as follows:

       A.     Certification of the proposed Classes;

       B.     Appoint Plaintiff as representative of the Classes;

       C.     Appoint the undersigned counsel as counsel for the Classes;

       D.     Award Plaintiff and the Classes statutory, compensatory, and

 exemplary damages, as allowed by law;

       E.     Award Plaintiff and the Classes attorneys’ fees and costs, as

 allowed by law and/or equity;

       F.     Enjoin Defendants from making unsolicited telemarketing calls,

 and otherwise protecting the interests of the Classes;

       G.     Grant Plaintiff leave to conform to the evidence produced at

 trial; and

       H.     Grant such other and further relief as the Court deems

 appropriate.




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 Date: May 5, 2020                 Respectfully submitted,


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